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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


PARS EQUALITY CENTER,                                     Civil Action No. 1:17-cv-255
IRANIAN AMERICAN BAR ASSOCIATION,
PUBLIC AFFAIRS ALLIANCE OF IRANIAN                        Hon. Tanya S. Chutkan
AMERICANS, INC., et al.,

               Plaintiffs,

               v.

DONALD J. TRUMP et al.,

               Defendants.


               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       In further support of the Plaintiffs’ October 12, 2017 Motion for Preliminary Injunction

(ECF No. 107) and January 3, 2018 Motion for a Briefing Schedule (ECF No. 135), Plaintiffs

attach a copy of the February 15, 2018 opinion of the Fourth Circuit in International Refugee

Assistance Project et al. v. Trump affirming the District of Maryland injunction against the

Travel Ban (previously submitted as ECF No. 108-2). Ex. 1.

       The Fourth Circuit is now the second appellate court to affirm that plaintiffs are likely to

show likelihood of success on the merits that Travel Ban 3.0 is illegal. For the reasons cited by

the Fourth Circuit, this Court should grant the pending Motion for Preliminary Injunction.

       More importantly, because both the Fourth Circuit and Ninth Circuit cases concern only

preliminary relief and only address claims under the Administrative Procedure Act and the

Establishment Clause, further litigation of those appeals will not resolve this suit. Plaintiffs filed

the Third Amended Complaint on November 3, 2017 (ECF No. 123). Plaintiffs are continuing to

experience the injuries noted in that Complaint and in the Motion for a Briefing Schedule (No.
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135). The Government has not provided any justification to stay these proceedings, and the time

for the Government to answer for its actions has long since passed.

       This Court should convene a status conference and set a schedule for the Government to

respond to the operative Complaint and for the balance of this litigation.

Dated: February 22, 2018                             Respectfully submitted,

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